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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                          DECISION AND ORDER
              v.                                             10-CR-188A

JAVIER MEJIAS,

                                   Defendant.




                                     BACKGROUND

       Pursuant to a multi-defendant, multi-count indictment, defendant Javier Mejias, is

charged with: conspiracy to possess with the intent to distribute and to distribute 5

kilograms or more of a mixture and substance containing cocaine and an unspecified

quantity of marijuana, in violation of 21 U.S.C. § 841(a)(1) and § 841 (b)(1)(A) and

(b)(1)(D), all in violation 21 U.S.C. § 846 (Count 4); and possession with the intent to

distribute and distributing 500 grams or more of a mixture and substance containing

cocaine, in violation of 21 U.S.C. § 841(a)(1) and § 841 (b)(1)(B) (Count 5).

       On September 24, 2010, defendant Mejias appeared before this Court and

indicated his intent to enter a plea of guilty as to Counts 4 and 5 set forth above.

However, as to Count 4, the conspiracy count, the defendant indicated that he was only

willing to allocute to conspiring to possess 500 grams of cocaine, not the 5 kilograms or

more charged in that Count of the Indictment. The government, who had not reached a



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plea agreement with Mejias, objected and asserted that Mejias must allocate to the

quantity specified in the indictment or proceed to trial. The plea was adjourned so that

the parties could brief the issue of whether Mejias may plea to a lesser, or unspecified,

quantity of cocaine than that set forth in the indictment.

       On October 15, 2010, Mejias filed a motion requesting that this Court permit him

to plea to conspiring to distribute an unspecified quantity or lesser quantity of cocaine

than is charged in Count 4 of the indictment. The government filed a response in

opposition on November 9, 2010. Oral argument was deemed unnecessary. For the

reasons stated below, this Court holds that, absent a plea agreement with the

government, Mejias may not plead guilty to conspiring to distribute an unquantified or

lesser quantity of cocaine than that charged in the indictment.



                                       DISCUSSION

       In Apprendi v. New Jersey, 530 U.S. 466 (2000), the Supreme Court held that

“any fact that increases a penalty for a crime beyond the prescribed statutory maximum

must be submitted to a jury, and proved beyond a reasonable doubt.” Id. at 490. In the

aftermath of Apprendi, the Second Circuit held in United States v. Thomas, 274 F.3d

655 (2d Cir. 2001), that where the quantity of drugs is specified in the indictment and

has the potential to raise the defendant’s sentence above the otherwise applicable

statutory maximum, quantity is an element of the offense charged. The Court stated in

Thomas that “the principle of Apprendi requires quantity to be charged in the indictment

and found by a jury only in cases where the quantity results in punishment above the

statutory maximum.” Id. at 660, n.3. Thus, Thomas unequivocally held that “quantity is

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an element of the offense charged under 21 U.S.C. § 841.” Id. at 663.

       The Circuit again reiterated that point in United States v. Outen, 286 F.3d 622,

635 (2d Cir. 2002), holding that under Thomas, “drug quantity becomes an ‘element of

the offense’ under § 841 only where ‘the type and quantity of drugs involved ... may be

used to impose a sentence above the statutory maximum for an indeterminate quantity

of drugs.’ Id. at 635 (quoting Thomas, 274 F.3d at 660 & n. 3). If the indictment does

not specify a quantity of drugs, quantity is no longer an element and the “default

provision” of 21 U.S.C. § 841(b)(1)(C) governs to cap a defendant’s maximum sentence

at 20 years.

       There can be no doubt that the quantity charged in Counts 4 is an element of

that offense.1 The grand jury’s indictment that Mejias and others conspired to possess

and distribute 5 kilograms or more of cocaine renders every defendant charged in that

count subject to the enhanced sentencing penalties set forth 21 U.S.C. § 841(b)(1)(B),

namely, a mandatory minimum sentence of 10 years and a maximum sentence of life.

If on the other hand the grand jury had charged the defendants with conspiring to

distribute an unspecified quantity of cocaine, they would face no mandatory minimum

and a statutory maximum of 20 years. The grand jury’s inclusion of a specified quantity

renders that quantity an element of the offense charged in Count 4.

       Against this background, the government contends that this Court is without

authority to accept Mejias’ plea of guilty unless Mejias agrees to allocute to the quantity



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          The quantity charged in Count 5 is also an element of the offense, but Mejias does not
take issue with the quantity charged in that Count. That is, he has expressed a willingness to
allocute to the quantity specified in Count 5, but not the quantity specified in Count 4.

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of drugs specified in the indictment. Mejias, on the other hand, asserts that this Court

can accept his plea of guilty for conspiring to distribute an unspecified amount of

cocaine, and later determine the quantity of drugs relevant to Mejias at a sentencing

hearing.

       Mejias’ position runs counter to existing Second Circuit precedent. In United

States v. Yu, 285 F.3d 192 (2d Cir. 2002), the defendant in that case, like Mejias, was

charged with conspiring to possess and distribute a specified quantity of drugs, and that

defendant was also charged with actual possession of a quantity of drugs with the intent

to distribute them. Specifically, defendant Yu had been charged with conspiring to

distribute one kilogram or more of heroin between 1995 and 1996 (count 1), conspiring

to distribute 100 grams or more of heroin in 1997 (count 2) and attempting to possess

100 more kilograms of heroin (count 3). Yu entered a plea of guilty but refused to

stipulate to the quantity of drugs charged. Id. At 195. Instead, he admitted only to

conspiring to distribute heroin, leaving the issue of quantity to be determined by the

district judge at sentencing. During the plea, the district court cautioned Yu that he

could face enhanced sentencing penalties if the court were to determine the quantity

was as alleged in the indictment. Ultimately, that is what occurred and the district court

sentenced Yu based upon the enhanced penalties in § 841(b)(1). On appeal, the

Second Circuit vacated Yu’s convictions. The Circuit held that, in light of Apprendi,

Thomas and other circuit authority, “it was error for the district court to permit Yu to

plead guilty to quantity-specific charges while refusing to allocute to quantity.” Id. at

197 (remanding the matter for further proceedings); see also United States v. Yu, 150

Fed. Appx. 82 (2d Cir. 2005)(vacating Yu’s conviction after the district court failed to do

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so upon remand).

       In another case, the Circuit reached the same result. In United States v.

Gonzalez, 420 F.3d 111, 120 (2d Cir. 2005), the Circuit again vacated a defendant’s

conviction where the indictment had charged the defendant with conspiring to a

specified quantity of drugs that would subject him to the enhanced penalties of

§ 841(b)(1), but the defendant failed to allocute to the quantity charged in the

indictment. The Court reiterated that “drug quantity is an element that must always be

pleaded and proved to a jury or admitted by a defendant to support a conviction or

sentence on an aggravated offense under § § 841(b)(1)(A) or (b)(1)(B). If a defendant

is convicted only on a lesser unquantified drug charge, he must be sentenced pursuant

to § 841(b)(1)(C), which generally provides no mandatory minimums.” Because the

defendant in that case had failed to allocute to the quantity specified in the indictment,

the Circuit vacated his conviction and found that his guilty plea was not knowing,

voluntary or sufficient to support the judgment of conviction. The Circuit also noted that

“because the government was unwilling to accept [the] defendant’s plea to an

unquantified drug offense in satisfaction of the [charge in the indictment], the defendant

should have been allowed to withdraw his guilty plea.” Id. at 134.

       If this Court were to do what Mejias proposes and permit him to allocute to an

unspecified quantity notwithstanding the quantity charged in the indictment and the

government’s refusal to accept a plea to an unspecified quantity, the holdings of Yu and

Gonzalez make clear that such a plea would not constitute a knowing and voluntary

plea to Count 4 of the indictment because an essential element of that Count - the drug

quantity charged - would be absent. And if this Court were to hypothetically let the

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defendant do so only to later determine that he did in fact conspire to distribute 5

kilograms or more of cocaine, Yu and Gonzalez would compel this Court to permit the

defendant to withdraw his plea. What the defendant proposes by agreeing to plead to

an unspecified quantity of cocaine is tantamount to asking this Court to permit him to

plead guilty to the lesser-included offense set forth in § 841(b)(1)(C), which would

render the defendant subject only to a statutory maximum of twenty years and no

mandatory minimum. Without the government’s consent, this Court lacks authority to

permit a defendant to plead guilty to a lesser-included offense than what is charged in

the indictment. Therefore, the defendant’s motion must be denied. The cases cited by

the defendant in his motion are inapposite as they predate the clear dictates of Yu,

Gonzalez, Apprendi and Thomas.



                                     CONCLUSION

       For the reasons stated, defendant’s motion to enter a plea to an unspecified

quantity of cocaine is denied. The parties shall appear in Court on Monday, December

6, 2010, at 9:00 a.m. for a status conference.



       SO ORDERED.

                                          s/ Richard J. Arcara
                                          HONORABLE RICHARD J. ARCARA
                                          UNITED STATES DISTRICT JUDGE

DATED: December 1, 2010




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